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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


TO:                                 ALL PARTIES

RE:                                 USBC RULE 8010(b)(3) NOTICE and
                                    BANKRUPTCY APPEAL BRIEFING SCHEDULE

DATE:                               March 17, 2025

USDC CASE NO:                       1:25-cv-00613-MLB

BANKRUPTCY CASE NO:                 03-93031-WLH

FEE STATUS:                         PAID

Pursuant to Bankruptcy Rule 8010(b)(3), notice is hereby given that the record on appeal
from the United States Bankruptcy Court for the Northern District of Georgia in the above-
styled case was received and entered on the docket of the United States District Court for
the Northern District of Georgia on March 7, 2025.

Pursuant to Bankruptcy Rule 8018(a)(1), the appellant shall serve and file a brief within
30 days after the docketing of notice that the record has been transmitted or is available
electronically.

Pursuant to Bankruptcy Rule 8018(a)(2), the appellees shall serve and file a brief within
30 days after service of the brief of the appellant.

Pursuant to Bankruptcy Rule 8018(a)(3), the appellant may serve and file a reply brief
within 14 days after service of the appellees’ brief.

The Notice of Appeal will be transmitted to the United States District Judge, Honorable
Michael L. Brown, for a ruling at the expiration of time for filing of briefs as indicated
above, unless a different time is prescribed by Order of the District Court. Pursuant to
Local Rule of this Court, no hearing on appeal will be granted unless specifically
requested at the time briefs are filed, and then only in the discretion of the District Court.

 Dated: March 17, 2025

                                                   KEVIN P. WEIMER, CLERK and
                                                   DISTRICT COURT EXECUTIVE

                                                   /s/Benjamin G. Thurman
                                            By:    Deputy Clerk
